UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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 ABUBALCARR GALBALBEH,                                          :
                                                                :
                                              Plaintiff,        :       22 Civ. 224 (LGS)
                                                                :
                            -against-                           :             ORDER
                                                                :
 CITY OF NEW YORK, et al.,                                      :
                                                                :
                                              Defendants. :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, the Case Management Plan, issued June 30, 2022, set a deadline for all fact

discovery of November 3, 2022.

        WHEREAS, on September 3, 2022, Plaintiff filed a letter regarding an anticipated motion to

compel discovery. Plaintiff’s motion focused on Defendant’s inability to identify the John Doe

officers who allegedly assaulted and arrested Plaintiff. Following the parties’ further submission of

letters, an Order filed September 23, 2022, directed Defendant to file an affidavit from Officer

Justin Rodriguez, who is listed as the arresting officer on the summonses issued to Plaintiff,

identifying any other officers present the night of the events at issue in this lawsuit.

        WHEREAS, on October 14, 2022, Defendant filed the required affidavit. That affidavit

stated that Officer Rodriguez was designated as the arresting officer, but that he did not effectuate

the arrest. It further stated that Officer Rodriguez and Officer Shynell Parris-Mitchell transported

Plaintiff to the 50th Precinct of the New York City Police Department the night in question.

        WHEREAS, a conference was held on November 2, 2022, regarding Plaintiff’s motion. At

that conference, defense counsel outlined the City’s efforts to identify the John Doe defendants.

Defense counsel also represented that, based on Officer Parris-Mitchell’s assignment that day as

reflected in police records, she was not present at Plaintiff’s arrest. All four of the officers who
allegedly assaulted Plaintiff remain unidentified. At the conference, the parties further represented

that Plaintiff has not yet been deposed. For the reasons discussed at the conference, it is hereby

       ORDERED that, by November 4, 2022, Plaintiff shall file a letter proposing how he would

like to proceed in light of the limited information available, including any further discovery,

proposed motion to strike affirmative defenses or motion for summary judgment. This letter shall

also provide the case caption (court, case name and docket number) or WestLaw citation of similar

cases or decisions involving individual defendants who could not be identified. It is further

       ORDERED that, by November 9, 2022, Defendant shall file a letter response. Defendant’s

letter shall also describe what additional discovery remains outstanding.

Dated: November 3, 2022
       New York, New York




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